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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.                           §    CIVIL ACTION No. 19-cv-14666
                                                 §
VS.                                              §    SECTION (E)
                                                 §
M/V DONNA J. BOUCHARD, her tackle,               §    DIVISION (1)
furniture, apparel, appurtenances, etc. in       §
rem, and the Barge B. NO. 272, her tackle,       §    JUDGE: Susie Morgan
furniture, apparel, appurtenances, etc. in       §
rem and BOUCHARD                                 §    MAGISTRATE: Janice van Meerveld
TRANSPORTATION CO., INC. in                      §
personam                                         §

                     OMNIBUS LIMITED REPLY TO OPPOSITIONS
                       FILED BY INTERVENING PLAINTIFFS

       NOW INTO COURT, through undersigned counsel, comes plaintiff, E.N. Bisso & Son,

Inc. (“E.N. Bisso”), and files this Omnibus Limited Reply (the “Reply”) in response to the various

Oppositions filed by Crescent Towing & Salvage Co., Inc., Cooper/T. Smith Mooring Co., Inc.,

Boland Marine & Industrial, LLC, John W. Stone Oil Distributor, LLC, and Belle Chase Marine

Transportation, LLC (the “Intervening Plaintiffs”) (ECF Doc. Nos. 107, 120-122, and 124-126)

in response to (1) the Joint Motion To Dismiss (ECF Doc. No. 105) (“Motion To Dismiss”), filed

jointly by E.N. Bisso and Tug Donna J. Bouchard Corp., B. No. 272 Corp., and Bouchard

Transportation Co., Inc. and (2) the Motion To Vacate and Dismiss Court Order for Interlocutory

Sale of the M/V DONNA J. BOUCHARD and Barge B. NO. 272 (ECF Doc. No. 108), (the “Motion

To Vacate”), filed solely by Tug DONNA J. BOUCHARD Corp. and B. No. 272 Corp. In support

of the Reply, E.N. Bisso respectfully submits the following:

                                   LAW AND ARGUMENT

       1.      Initially, certain of the Oppositions challenge the filing of the Motion To Dismiss

ex parte. However, the Motion To Dismiss expressly limited the requested dismissal to the claims


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asserted by E.N. Bisso and the legal process issuing therefrom; namely, the warrants of arrest and

writs of attachment served upon the M/V DONNA J. BOUCHARD, the Barge B. NO. 272, and

their respective tackle, furniture, apparel, appurtenances, etc. (collectively, the “Vessels”).1

Because the settlement referenced in the Motion To Dismiss excludes the claims asserted by the

Intervening Plaintiffs, the Intervening Plaintiffs have no right to object to the settlement, but

instead must prosecute their claims in the absence of E.N. Bisso. See U.S. v. Carpenter, 526 F.3d

1237, 1241 (9th Cir. 2008) (“[I]ntervenors whose claims are not the subject of a settlement cannot

veto that settlement.”); see also Industrial Communications and Electronics, Inc. v. Town of Alton,

N.H., 646 F.3d 76, 79 (1st Cir. 2011) (“An intervenor can continue to litigate after dismissal of the

party who originated the action, but the intervenor’s ability to do so is contingent upon a showing

by the intervenor that he fulfills the requirements of Article III”). Accordingly, undersigned

counsel submits that the filing of the Motion To Dismiss ex parte was proper under the

circumstances.

        2.       Furthermore, there is nothing untoward or conspiratorial about E.N. Bisso’s

agreement to settle its claims against the Defendants. E.N. Bisso undertook no action which

impaired the interests of the Intervening Plaintiffs, but merely agreed to a routine out-of-court

settlement of its claims and to join in requesting dismissal of any such claims and associated legal

process with prejudice.

        3.       As the Intervening Plaintiffs will retain whatever rights they had despite the

dismissal of E.N. Bisso, the only practical effect of such dismissal is that the Intervening Plaintiffs

will be required to prosecute their claims themselves, including covering the costs of maintaining



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  Although this Court issued writs of attachment, which, upon information and belief, were served on the Vessels,
E.N. Bisso did not request issuance or service of such process in any of its pleadings. Accordingly, the writs of
attachment were issued in error. In any event, E.N. Bisso has no objection to the quashing of such writs.

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arrest of the Vessels, substantially all of which have been advanced by E.N. Bisso to date.

Specifically, E.N. Bisso commenced the action and engaged a substitute custodian to maintain the

Vessels during the arrest at significant expense, which none of the Intervening Plaintiffs offered

to defray. E.N. Bisso later filed the Motion for Interlocutory Sale (ECF Doc. No. 39), which this

Court granted per Order dated March 10, 2020 (ECF Doc. 58) (the “Sale Order”). None of the

Intervening Plaintiffs joined in the Motion for Interlocutory Sale or submitted any pleadings in

support of such relief.

       4.        Certain of the Oppositions imply that E.N. Bisso delayed advertising the Vessels

for sale in order to obtain payment on its claims from the Defendants. E.N. Bisso categorically

denies that implication. Shortly following the entry of the Sale Order, undersigned counsel

prepared an advertisement for publication in New Orleans and trade publications throughout the

country, which noticed the Vessels for interlocutory sale on April 28, 2020. Before those

advertisements went into circulation, the Court advised undersigned counsel that COVID-19

General Order No. 20-2 barred public sales during the month of April and requested that E.N.

Bisso not advertise the sale as planned.

       5.        Undersigned counsel further notes that none of the Intervening Plaintiffs inquired

into or offered to assist in marketing the Vessels, share advertising costs, or any other custodia

legis expense.

       6.        E.N. Bisso did not agree to join in any future motion to vacate in connection with

the settlement of its claims against the Defendants. E.N. Bisso merely agreed that it had no

objection if one or more of the Defendants in the future filed a motion to vacate the sale. As it was

dismissing its action against the Defendants, which effectively terminated its involvement in this

case, E.N. Bisso’s ‘no objection’ was not earthshattering and should not cause the Intervening



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Plaintiffs such consternation.

       WHEREFORE, E.N. Bisso & Son, Inc. respectfully prays that this Court enter an Order

dismissing E.N. Bisso from the instant action and granting such other and further relief as this

Court deems just and proper under the circumstances.


 LUGENBUHL, WHEATON, PECK                           Respectfully submitted,
    RANKIN & HUBBARD
                                                    _/s/ Stewart F. Peck_______________
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                                                    Attorneys for E.N. Bisso & Son, Inc.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2020 true and correct copies of the foregoing were served

via electronic mail by operation of this Court’s CM/ECF system on all parties having entered

appearances in this matter.

                                                    /s/ Stewart F. Peck
                                                    Stewart F. Peck




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